Case: 1:24-cv-11017 Document #: 6-3 Filed: 10/25/24 Page 1 of 17 PageID #:66




                     Exhibit 2
2/12/24, 10:07 AM Case:Keith
                        1:24-cv-01491
                        1:24-cv-10835
                        1:24-cv-11017         Document
                             represents photographer       #: 6-3
                                                              4-3 toFiled:
                                                     MARK GEMMELL          02/22/24
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                                                                     safeguard            Page
                                                                               the rights of        2 ofworks.
                                                                                             copyrighted 17 PageID         #:55
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                                                                Case list            Brand library               Case agency


                                                  Law firm information                    common problem                     other


                                                                                                                               about



             KEITH REPRESENTS PHOTOGRAPHER
             MARK GEMMELL TO SAFEGUARD THE
           RIGHTS OF COPYRIGHTED WORKS. IT HAS
               NOT BEEN FROZEN YET. PLEASE
           INVESTIGATE AND WITHDRAW MONEY AS
                    SOON AS POSSIBLE!
                                                   front page / Uncategorized / Keith…




          Post Views: 2,991
         case parameters
         Time of prosecution: 2023/5/22
         Case number: 23-cv-3193, 23-cv-3197
         Plaintiff’s brand: MARK GEMMELL Copyright painting
         brand: MARK GEMMELL
         Law firm: Keith
         Place of prosecution: Illinois, USA

         brand introduction
         Gemmell is a fine art photographer who specializes in creating quirky and imaginative images of
         livestock. Many of his photographs depict cattle and sheep in moody landscapes.
         Official website: https://markgemmell.com/prints



https://sellerdefense.cn/mark-gemmell0523/                                                                                                    1/16
2/12/24, 10:07 AM Case:Keith
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         Register copyright
         The case involves the following 4 copyrighted pictures, and the copyright effective time is 23/2/1.




https://sellerdefense.cn/mark-gemmell0523/                                                                                                    2/16
2/12/24, 10:07 AM Case:Keith
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https://sellerdefense.cn/mark-gemmell0523/                                                                                                    4/16
2/12/24, 10:07 AM Case:Keith
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2/12/24, 10:07 AMCase: Keith
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         Publication example




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         contact us
         If you want to know more about infringement, you can go to SellerDefense official website to
         check the latest news: https://sellerdefense.cn/

         If you are unfortunate enough to be accused or your store has been frozen, you can contact us as
         soon as possible, long press and identify the QR code below to add friends. We will provide the
         most professional free consultation services in all aspects according to different case situations.




                                       Category: Uncategorized       Victor    May 23, 2023      Comment




https://sellerdefense.cn/mark-gemmell0523/                                                                                                   11/16
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                                     Author: Victor

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                HISTORICAL ARTICLES                                                                       FUTURE ARTICLES

                Rubik's Cube is back!                                                 New brand registration,

          Loans  to 110 Amazon
           stores have been frozen,
                                                                                  trademark MOTOGP must
                                                                                             not be used without
                                                                                                                                    
                the list is attached!                                                                   authorization!




                                                         Related Posts


                                   Summary of recent                                                   Summary of recent
                                   cases! Keith now                                                    cases! These new brands
                                   represents 5 new brands!                                            are starting to defend
                                   Take a quick look to                                                their rights and file
                                   avoid infringement!                                                 lawsuits! A large number
                                   February 7, 2024                                                    of sellers will be shocked!
                                                                                                       February 2, 2024



                                   Summary of recent                                                   Summary of recent
                                   cases! Attorney Keith                                               cases! Hidden cases
                                   files the case on behalf of                                         have surfaced, and
                                   the new brand, so hurry                                             accounts have been
                                   up and investigate!                                                 frozen, fearing that a
                                   January 25, 2024                                                    large number of sellers
                                                                                                       will be tricked!
                                                                                                       January 18, 2024


https://sellerdefense.cn/mark-gemmell0523/                                                                                                   12/16
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                                   Three anonymous cases                                               Summary of recent
                                   exposed! They are all                                               cases! Many copyright
                                   popular products on                                                 cases are coming, here’s
                                   Amazon and their                                                    a list!
                                   accounts have been                                                  January 5, 2024

                                   frozen! Take a quick look
                                   at lightning protection!
                                   January 12, 2024




                                                              Comment


                                       Your email address will not be published * This field is required


            Comment




            Name*


            e-mail*


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             Save my name, email, and website in this browser for the next time I comment.



             submit comments


            Enter and press enter…                                                                                                 



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         SellerDefense WeChat public account




         US Law Firm Case Settlement Agent




         Law firm agency brand

         GBC agent brand list
         Keith agent brand directory
         EPS agency brand list
         David agent brand list




         Useful links

         How cross-border sellers can reduce the risk of being sued for infringement
         AliExpress Intellectual Property Zone
https://sellerdefense.cn/mark-gemmell0523/                                                                                                   14/16
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         Dunhuang Net Intellectual Property Zone
         eBay VERO
         How to search for a US trademark
         How to search for a Chinese trademark
         Basic knowledge of litigation settlement




         Categories

         Baker

         David

         EPS

         FERENCE

         Flener

         GBC

         GulbransenLaw

         HSP

         Johnson&Pham LLP

         Keener

         KEITH

         LOEB

         Marshall

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         SKGF

         SLADKUS

         SMG

         SpencePC

         Thoits

         Uncategorized



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         Other law firms




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